  Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 1 of 19


AO 91 (Rev. 08/09) Criminal Complaint
                                                                                                            r I Lt: u   t:n _ __-~J•r-
                                                                                                                                    "
                                                                                                                                    1-- - D. C.
                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                                                                                          FEB 2 4 2020
                                                    Southern District of Florida
                                                                                                                        ANGELA E NOBLE
                                                                                                                       CL RK US 01sr CT.
                                                                      )                                                SO OF FLA WPS
                  United States of A merica
                                V.                                    )
                   Shaquille P. Robinson                              )      Case No. 20-MJ-8086-DLB
                            and                                       )
                   Dierdre Denise Dixon                               )
                                                                      )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT

          I, the complainant in this case, state that the fol lowing is true to the best ofmy knowledge and belief.
On or about the date(s) of                See Attached Affidavit             in the county of   Palm Beach and elsewhere          in the

     Southern          District of _ _ _,_
                                        Fl"oc.
                                           " ri.,,,
                                              :. :d"'"
                                                   a_ _ _      , the defendant(s) vi olated:

             Code Section                                                       Offense Description
18 U.S.C. § 1029(a)(2)                          Access Device Fraud

18 U.S.C. § 1344                                Bank Fra ud

18 U.S.C. § 1028A                               Aggravated Identity Theft




          This criminal complaint is based on these facts:


See Attached Affidavit




          ~ Continued on the attached sheet.



                                                                                    ~                     "--,-.s-s-ig-'-
                                                                                                                      na_t_
                                                                                                                          u r_e _ _ __ __


                                                                                     Sarah Schaut, Task Force Office (USSS)
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.



D ate:                                                                        _ (2-(;~_/ b -       Judge's signature

City and state:                   West Palm Beach Florida                               Dave Lee Brannon U.S. Ma istrate
                                                                                                 Printed name and title
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 2 of 19




                                            AFFIDAVIT

         I, Sarah Schaut, being first duly sworn, hereby depose and state as follows:

                                         INTRODUCTION

          I.     I am employed with the Plantation Police Department and cmTently assigned to the

  Criminal Investigations Division (CID) as an Economic Crimes Detective. I have been employed

  in a law enforcement capacity since April 20 11, with the past three years assigned to CID. I have

  been dually sworn as a Task Force Officer (TFO) with the United States Secret Service (USSS)

  since January 20 19 and assigned to the South Florida Organized Fraud Task Force of the Miami

  Field Office. I have been trained to conduct criminal investigations involving or relating to the

  financial infrastructure of the United States, including identity theft, counterfe it United States

  currency, wire fraud and access device fraud. I have completed the Basic Recruit Certificate of

  Compliance for Law Enforcement Officers at the Insti tute of Public Safety, Davie, FL.

         2.      The facts in this affidavit come from my personal observations, my training and

  experience, review of police reports, and information obtained from other law enforcement officers

  and witnesses. Because this affidavit is provided for the limited purpose of establishing probable

  cause for the charges in the Complaint, this affidavit does not set forth ever fact known to me

  regarding this investigation.


                                  PURPOSE OF THE AFFIDAVIT

         3.      This affidavit is submitted for the limited purpose of establishing probable cause to

  support the charges set forth in the attached complaint. Yo ur affiant submits, based on the facts

  set forth below, that there is probable cause to arrest DIERDRE DENISE DIXON and

  SHAQUILLE P. ROBINSON, for violation of the following offenses:
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 3 of 19




        •        Between October 18, 2018, in Palm Beach County, Florida, and elsewhere, the
                 defendants, SHAQUILLE P. ROBINSON and DIERDRE DENISE DIXON, did
                 knowingly and with intent to defraud use one or more unauthorized access devices
                 during a one year period, and by such conduct, obtain anything of value aggregating
                 $1,000 or more during that period, said conduct affecting interstate and foreign
                 commerce, in violation of Title 18, Unite States Code, Section 1029(a)(2) and 2.

         •       On October 18, 2018, January 29, 20 19, and February 24, 20 19, in Palm Beach County,
                 Florida, the defendant, SHAQUILLE ROBSINSON, did knowingly execute a scheme
                 or artifice to obtain any of the moneys, funds, and credits, owned by, or under the
                 custody or control of, a financial institution by means of false or fraudulent pretenses,
                 representations, or promises, in violation of Title 18, United States Code, Sections 1344
                 and 2.

         •       On January 29, 2019, and February 24, 20 19, in Palm Beach County, Florida, the
                 defendant, DIERDRE DENISE DIXON, did knowingly execute a scheme or artifice to
                 obtain any of the moneys, funds, and credits, owned by, or under the custody or control
                 of, a fi nancial institution by means of false or fraudulent pretenses, representations, or
                 promises, in violation of Title 18, United States Code, Sections 1344 and 2.

         •       On October 18, 2018, January 29, 2019, and February 24, 2019, in Palm Beach County,
                 Florida, the defendant, SHAQUILLE ROBSINSON, did, during and in relation to an
                 enumerated felony, knowingly use, without lawful authority, a means of identification
                 of another person, in violation of Title 18, United States Code, Sections 1028A and 2.

         •       On January 29, 2019, and February 24, 2019, in Palm Beach County, Florida, the
                 defendant, DIERDRE DENISE DIXON, did, during and in relation to an enumerated
                 felony, knowingly use, without lawful authority, a means of identification of another
                 person, in violation of Title 18, United States Code, Sections 1028A and 2.

                                  Summary of the General Fraud Scheme.

         1.          Your affiant is a member of an investigative task force investigating an ongoing

  bank fraud scheme targeting elder victims living in South Florida. Based upon victim interviews

  and contact with the affected financial institutions, this section provides a general overview of how

  the fraud scheme generally works.

            2.       In general, each individual v ictim is telephonically contacted by a professional

  sounding caller. To your affiant's knowledge, the caller is always a female. That caller states that




                                                        2
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 4 of 19




  she is a bank representative from the victim's bank. The caller tells the victim, falsely, that the

  victim ' s account has been compromised.

          3.      The bank and account type vary with each victim, but in general, the caller is

  attempting to get access to the victim' s credit and debit cards. According to the victims, the caller

  supplies banking information regarding the victim's account that convinces each victim that the

  call is legitimate.     For example, multiple victims have stated that the caller had their last

  transaction information. The caller will then include some fictiti ous transaction descriptions with

  the legitimate transaction descriptions, which then convinces the individual victim that their

  account or bank card has been compromised.

          4.      The caller then offers to send a "bank representative" to the victim' s home to

  exchange the "compromised" card with a new one. The victims report a "bank representative"

  arrives at their residence shortly thereafter, usually while the victim is still on the phone with the

  original caller. The " bank representative" then obtains the victims "compromised" debit and/or

  credit card(s) with the promise of returning with a new uncompromised card. Usually the caller

  has already convinced the individual victim into "verify ing" his or her PIN number. 1 After the

  "bank representative" leaves with the compromised cards, that representative and another

  coconspirator then spend money as quickly as possible, often withdrawing cash from ATMs,

  purchasing money orders from Publix, and otherwise using the accounts as quickly as possible.

  Surveillance video obtained from the various stores and ATMs show that the suspects utilizing the

  cards are often speaking on the telephone with an unknown person while at the Publix/Store or

  bank ATM machine.



  1Some victims have de nied providing the ir PIN numbers . It is unc lear at this time w hether the s ubjects
  obtain the PfN thro ugh othe r means, whether those v ictims are mista ken, o r if the s ubjects the n use those
  cards only fo r transactions that will not require entry of a P IN .



                                                          3
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 5 of 19




         5.      This fraud scheme has been ongoing since at least August 2016 and continues

  through the present.    Law enforcement and financial institutions have identified over 200

  individual victims identified in Broward, Palm Beach, St. Lucie, Indian River, and elsewhere.

  Most of the victims are elderly and living in retirement communities. The financi al institutions

  report more than $1,000,000 in financial loss. While some arrests of persons' responsible for using

  the cards have been made by local police departments, the group tends to move operations to

  different counties when one area becomes too hot.

                       Dierdre Dixon's Vid eo-Recorded Confession - April 5, 2019

         6.      On April 5, 20 19, the Palm Beach Sherri ff s Office (PBSO) arrested Dixon after

  she was identified as a suspect in one of the individual cases involving a Palm Beach victim. After

  her arrest, during a video and audio recorded interview, Dixon waived her Miranda rights and

  agreed to speak to different state agency detectives. During this videotaped confession, Dixon

  admitted becoming involved with the conspiracy on one occasion in October, 2018, and then on a

  more consistent basis starting in December, 2018. Dixon pa1ticipated in the conspiracy through

  the date of her arrest on or about April 5, 2019.

         7.      Dixon indicated the leader, Subject 1, was responsible for identifying the victims

  in elder communities. Subject #1 would then provide the information on where to go to pick up

  the debit and credit cards to Dixon and her driver. During the course of the recorded interviews,

  Dixon admitted posing as a bank employee and entering multiple victims' houses. Once Dixon

  obtained the bank card(s), Dixon and the driver would go to ATM machines to withdraw cash and

  Publix to purchase money orders. Dixon admitted using the ATM once, but said she primarily

  purchased money orders from Publix using the victim 's PIN number. Subject 1 sent the PIN

  number to Dixon by text. Dixon would purchase money orders in the amounts instructed by

  Subject #1. Dixon also admitted purchasing computers on one occasion, which she believed were


                                                      4
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 6 of 19




  for Subject #1. Dixon would receive a cut of the cash from the ATM withdrawals, which were

  done by her driver, usually in the amount of $500 per job. 2 During the interview, Dixon identified

  herself in multiple photographs that were taken at different locations where sto len cards were uses.

            8.      Dixon estimated that she participated in the scheme on 30 to 40 occasions. Dixon

  said she did not drive herself, but always used a driver. Dixon's usual driver she identified as

  "Mishaq" (phonetic spelling), but she beli eved that name was an alias. Dixon identified an ATM

  photograph of a black male in PBSO Case No. 19-031246 using victim R.S.'s debit card at an

  ATM machine as her driver. (As described below, the person in that photograph has subsequently

  been confirmed as Robinson through further investigation). Dming the course of the interview,

  Dixon said the last car they (she and her driver) used was a Chrysler 300.


                            Three examples involving DIXON & ROBINSON


            9.      This section provides three illustrations of the general scheme described above,

  where Dixon and Robinson have each been identified as a participant. Each of the banks described

  below ultimately suffered the financial loss. These banks do business in multiple states and are

  headquartered outside the State of Florida where the victims were located. Each of these banks

  is also FDIC-insured.


                                                October 18, 2018
                                     Victim "J.G." in Boynton Beach, Florida
                                           (PBSO Case o. 18-134984)


            10.     Victim "J.G." reports receiving a telephone call at J.G .'s Boynton Beach residence

  on October 18, 2018. Per "J.G.", the female caller identified herself as "Melanie Lewis" from the

  Wells Fargo Bank, located at 10845 S Jog Rd, Boynton Beach, Florida. Melanie recited J.G.'s


  2
      Dixon said she received $200 for the October j ob.



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Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 7 of 19




  account information and advised J.G. that there were fraudulent charges made to J.G. 's Well Fargo

  checking account. Melanie said the fraudulent charges totaled $7,159.17. Melanie advised J.G.

  that she was going to send a representative from Wells Fargo to J.G. ' s Boynton residence to obtain

  J.G.'s Wells Fargo debit card ending in 4042 and his Wells Fargo credit card ending in 7533.3

            11.     At approximately 1500 hours, a black female identifying herself as Kelly arrived at

  J.G.'s door. Believing Kelly was a Wells Fargo employee, J.G. provided Kelly with his two cards

  and she advised him that she will destroy the cards.

            12.     J.G. has identified the following fraudulent charges and unauthorized transactions

  on his Wells Fargo accounts that occutTed on the date that he provided his debit card and credit

  card to Kelly. Using J.G.' s identity, one of the conspirators call ed Wells Fargo multiple times

  posing as J.G. to raise the ATM withdrawal and Point of Sale limits, check on a $5000 from J.G.' s

  credit card, unlock the accounts, and conduct other transactions in J.G.'s name. 4 Based upon

  review of J.G.'s statement, there were also fraudulent purchases made on J. G.'s credit card,

  including a $500 cash advance withdrawal at 120 N orth Dixie Highway, Lake Worth, Florida, and

  $605.88 purchase at a yet to be identified location.

            13.     In addition to what was listed in the preceding paragraph, the following

  purchases/withdrawals were made using J.G. ' s debit card ending in 4042.

      No.         Date         Amount                 Location
      1.          18Oct2018    $2,000                 ATM AT 8768 BOYNTON BEACH BLVD,
                                                      BOYNTON BEACH FL, 33473 WELLS
                                                      FARGO BRANCH.


  3
    Both cards were Visa cards. Vias operated in all fifty states and multiple foreign coun tries. Your
  affia nt knows that credit card companies receive a small percentage of each transaction, so use of these
  cards affects interstate and foreign commerce.

  4The re are approx imately 15 recordings, us ing call centers located in: Shoreview, MN; Birmingham,
  AL; El Monte, CA; Sale m, OR; Beave rton, OR; Westlake, TX; Phoe nix - Rose Garden, AZ; Sioux Falls,
  SD; Lubbock, TX; McK inley, and the Phi lippines.



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Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 8 of 19




   2.             18Oct2018     $1502.67            8340 JOG RD, BOYNTON BEACH FL,
                                                    33472 PUBLIX

   3.             18Oct2018     $2705.34            133 N CONGRESS BLVD, BOYNTON
                                                    BEACH, FL, 33426 PUBLIX

   4.             l 8Oct201 8   $ 1603.56           1005 W GATEWAY BLVD, BOYNTON
                                                    BEACH, FL, 33426 PUBLIX

      5.          18Oct2018     $1302.67            1589 LANTANA RD, LANTANA FL, 33462
                                                    PUBLIX

      6.          18Oct2018     $1202.67            501 SE 18TH AVENUE, BOYNTON
                                                    BEACH, FL, 33435 PUBLIX

      7.          18Oct2018     $77.13              2 14 N DIXIE HWY, LAKE WORTH, FL,
                                                    33460 PUBLIX


  Most of the Publix transactions above were for Western Union money orders. The total loss to

  Wells Fargo Bank for the debit transactions listed above was approximately $ 10,394.00.

           14.       On October 19, 20 18, at least seven additional transactions were attempted (using

  which card) at several Publix in Broward County totaling $8,710.68 which were all declined. One

  of those attempted transactions was an attempted ATM withdrawal of $2000 that took place at

  3 :03 a.m. in Lauderhill, Florida.

           15 .      Wells Fargo security subsequently provided video stills of the two ATM

  transactions. The first transaction, is identified as # 1 above. The second attempted transaction

  occurred at 3 :03 a.m., on October 19, 2018, at an ATM located in Lauderhill FL for $2,000

  (ROBINSO 's probation officer has identified ROBINSON as the man making the transactions

  in both photographs. 5




  5 At the Publix located at 8340 S. Jog Rd (Transaction #2), a black female is observed paying for
  a Western Union money order with J.G. ' s debit card.



                                                      7
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 9 of 19




            16.      Each card was issued in J.G. 's name. Wells Fargo is a bank that is headqua11ered

  in California and does business in multiple states. Wells Fargo is FDIC insured.


                                            January 29 th , 2019
                                  Victim "R.S." - Boynton Beach, Florida
                                        PBSO Case No. 19-031246

            17.      The victim, R. S., reports receiving a phone from an unknown number on January

  29, 2019. The female caller told R .S. that she was a Bank of America representative. The cal ler

  told R .S. that the bank had identified recent fraudulent activity on R.S.'s debit and credit cards.

  The caller said she was going to send someone to R.S. Boynton Beach residence to replace the

  cards.

            18.      A black female, identifying herself as Kelly, from Bank of America arrived at

  R.S. ' s residence. R.S. invited Kelly inside.       Kelly took possession of 2 BoA debit cards and 2

  BoA credit cards:

            A.    Debit Card #352 1 in name of" R.S.";
            B.    Debit Card #2657 in name of "T.S.";
            C.    Credit Card #9834 in name of "R.S."
            D.    Credit Card #4971 in name of "R.S." 6

            19.      When Kelly7 never returned, R.S. contacted Bank of America customer service to

  cancel the cards. Customer service was able to access her banking account information and noticed

  several fraudulent charges pending. The cards were used multiple times, including at an A TM

  machine, two Publix stores in Boynton Beach, Best Buy located in unincorporated Boca Raton,

  and an online purchase at build.com.




  6   Informati on regarding this credit card number is pending.
  7
      Kelly is DI XON.




                                                         8
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 10 of 19




          20.       A review of the victim' s Bank of America statements included the following

   fraudulent activity:



    No.         Date &       Card & ID     Amount          Location
                App. Time

    #1          29Jan2019    Debit Card    $600.00         BofAATM, 9760 S Military Trail,
                at 17:43     #352 1 in                     Boynton Beach, FL 33436 at 1743hrs
                             name of
                             R.S.
    #2          29Jan20 19   Debit Card    $1,502.67       Publix Store # 1041, 1005 Gateway
                at 18:37     #352 1 in                     Blvd., Boynton Beach, Florida
                             name of
                             "R.S."


    #3          29Jan2019    Debit Card    $ 1,0001 .78    Publix Store #1041 , 1005 Gateway
                at 18:39     #3521 in                      Blvd. , Boynton Beach, Florida
                             name of
                             " R.S."

    #4          19Jan2019    Debit Card    $2.99           Publix Store, 1005 Gateway Blvd. ,
                at 18:41     #3 521 in                     Boynton Beach, Florida
                             name of
                             "R.S."

    #5          29Jan2019    Debit Card    $ 1,502.67      Publix Store, 133 N Congress Blvd,
                at 18:22     #352 1 in                     Boynton Beach, Fl, 33426
                time         name of
                             "R.S ."
    #6          29Jan2019    Credit Card   $999.00         Best Buy, 20540 State Road 7, Boca
                at 19:26     #9834in                       Raton, Florida
                             name of
                             "R.S."
                29Jan20 19   Credit Card   $299.00         Best Buy, 20540 State Road 7, Boca
    #7          at 19:26     #9 834in                      Raton, Florida
                             name of
                             "R.S ."
                             Credit Card   $3,349.27       Build.com Order No. 70542112
    #8          29Jan20 19   #9834 in                      (online vendor)
                at unknown   name of
                time         "R.S."




                                                     9
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 11 of 19




          2 1.     Evidence linking ROBINSON to this specific fraud includes ATM footage related

  to Transaction # 1.     Specifically, Bank of America provided ATM video of the $600 ATM

  withdrawal (Transaction # 1 above) that occurred at 9760 S Military Trail, Boynton Beach, FL

   33436. In that video you see a black male, identified as ROBINSON by his state probation officer,

   wearing a black hooded j acket and sunglasses walk to the ATM machine and use the debit card to

   make the $600 withdrawal. 8 DIXON has also been show this photograph and confirmed that the

   person that photograph is her driver ("Misaq").

           22.     Publix video for the stored located at 1005 Gateway Blvd, Boynton Beach, FL

   33426 captured images of DIXON completing Transactions #2 - #4).                 The person in the Publix

   video is also visible making fraudulent transactions at the Best Buy. DIXON identified herself

   when shown the Best Buy video during her post-Miranda interview on April 5, 20 19. DIXON

   also was identified by a Best Buy employee using a six-person lineup as the person who made the

   two purchases at Best Buy (Transaction #6 and #7) and attempted a third purchase before leaving

   that store. R.S. was not able to make an identification when shown a photographic lineup.

                                          February 24, 2019
                            Victim "D.R. & R.R." - Boynton Beach, Florida
                                       PBSO Case #19-041289

           23.     D.R. reports receiving a telephone call on February 24, 20 19. The caller identified

   herself as "Ashley Jenkins," who claimed to be a Bank of America representative. "Ashley"

   informed D.R. of fraud on D.R.'s account. Ashley also said that a person was in custody in

   reference to this fraud . D.R. reports Ashley provided legitimate banking information regarding

   D.R. 's account that led D.R. to believe Ashley was a legitimate Bank of America employee.



   8The bank statement does not reflect w hic h of the two de bit cards, o ne in the name of R.S. and one in the
   na me of T.S. was used to ma ke the purchase . Regardless, the pe rson us ing the debit card was not R.S. or
   T.S.



                                                        10
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 12 of 19




   Ashley told D.R. they needed to secure D.R. 's debit and credit cards and replace them with new

   ones. D.R. was advised that another bank employee would come to R.S .'s Boynton Beach home

   to collect the "compromi sed" cards.

              24.     D.R.'s spouse, "R.R.", answered the door to a heavyset black female identifying

   herself as "Kerry." Kerry was described as a black female, heavyset (140- 150 lbs), 5'4" tall, with

   long purple hair, brown eyes, and wearing a sleeveless maroon dress and sandals. Kerry picked

   up 1 Debit card (#3734), 1 Credit Card (#1 040), and I Rewards Card (#9373) from D.R. and l

   Debit card (#9474) from R.R., complete with PIN numbers. Kerry used the phone located in the

   kitchen to confirm the numbers, expiration dates, and CCV numbers of the cards to Ashley, who

   remained on the phone with D.R. Kerry then left the residence.

             25.      Ashley remained on the phone with D.R .. Ashley claimed she was removing the

   alleged fraudulent charges from D.R. 's account. Ashley would put D.R. on hold for extended

   periods of time, claiming to get new codes which would remove the fraudu lent charges. During

   this time, R.R. was getting text messages from Bank of America asking if purchases currently

   being made with their cards were authorized. Ashley advised D.R. that those text messages were

   coming from her and to answer "Yes." D.R. eventually ended her call with Ashley when Ashley

   claimed to have gotten ri d of all the charges. D.R. later checked her accounts and fou nd close to

   $ 14,000 in unauthorized charges from Publix, Best Buy purchases, and ATM withdrawals.

             26.     The following fraudulent transactions were conducted with the Bank of America

   debit card ending in 3324, in the name of D.R.: 9




   9
       This debit card is linked to a Bank of America account endi ng in 0887.



                                                         11
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 13 of 19




   No.       Date         Amount            Location


                                            Publix, 1005 Gateway Blvd, Boynton
   #1        24FEB1 9     $1 ,502.67        Beach, FL


   #2        24FEB19      $500.00           Publix, 133 N. Congress Avenue,
                                            Boynton Beach, FL


   #3        24FEB 19     $ 1,502.67        Publix, 133 N. Congress Ave,
                                            Boynton Beach, FL


   #4        24FEB 19     $500.89           Publix, 133 N . Congress Ave,
                                            Boynton Beach, FL

   #5        24FEB1 9     $ 1,502.67        Publix, 133 N . Congress Ave,
                                            Boynton Beach, FL


    #6       24FEB 19     $996.78           Publix, 3775 W. Woolbright Road,
                                            Boynton Beach, FL


    #7       24FEB19      $1 ,5 02.67       Publix, 3775 W. Woolbright Road,
                                            Boynton Beach, FL


    #8       24FEB 19     $400.00           ATM at 13700 Jog Road, Delray
                                            Beach, FL

                                            ATM at 13700 Jog Road, Delray
    #9       24FEB1 9     $600.00           Beach, FL


   Total Purchases were approximately $9,008.35.

          27.    The following fraudulent transactions were conducted with the Bank of America

   debit card ending in 9474, in the name of D.R., for the checking account ending in 1705.




                                                   12
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 14 of 19




    No.      Date         Amount              Location



    #10      24FEB19      $991.67             Publix, 1005 Gateway Blvd, Boynton
                                              Beach, FL


    #11      24FEB 19     $991.67             Publix, 3775 W. Woolbright Road,
                                              Boynton Beach, FL


    #12      24FEB 19     $991.67             Publix, 3775 W. Woolbright Road,
                                              Boynton Beach, FL


    #13      24FEB19      $600.00             ATM, 13700 Jog Road, Delray
                                              Beach, FL

   Total Purchases were approximately $3,575.01.

          28.     The following fraudulent tran sactions were conducted with the Bank of America

   credit card (Visa) ending in I 040, in the name of D.R., for the checking account ending in 1705:

    No.      Date         Amo unt             Location


                                              Best Buy, 804 550 N. Congress Ave,
    #14      24FEB19      $1 ,184.55          Boynton Beach, FL




   Total Purchases were approximately $ 1,184.55. The total loss for all 14 transactions described

   above is $13,767.91.

          29.     Surveillance video was recovered from the Publix stores located at 1005 Gateway,

   and 133 N. Congress Ave Publix. At both locations, the cameras captured the image of a heavyset

   black female in a maroon dress and with purple hair conducting transactions using the debit and/or

   credit cards identified above.   At the Best Buy, the same female is seen inside the store using

   D.R. 's credit card, as described above.    DIXON was shown the Best Buy photograph and



                                                   13
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 15 of 19




  confirmed it was her during the April 5th post-Miranda interview.                   When DIXON's cellular

  telephone was searched pursuant to her recorded and written consent, photographs of the cards

  ending in 9373 and 1040 were recovered from her I-Phone.

             30.      ROBINSON's image was captured making the ATM card transactions (#8 and #9)

  above. ROBINSON's probation officer did not recognize him in this photograph. ROBINSON

  was recognized, however, by a PBSO detective that met him during the course this case and is

   fami liar with his appearance. During a two-part recorded interview on September 12 and 25, 2019,

   DIXON admitted participating in the transactions identified above and identified ROBINSON as

   her partner.      DIXON identified ROBINSON 's photograph from the ATM transactions.                         In

   addition, a close family member of ROBINSON has also identified him in the photograph.

                                                   March 2, 2019.

             3 1.     DIXON stated during her initial interview and during the September 2019

   interviews that ROBINSON was almost always her driver and the last car they were using was a

   Chrysler 300. On March 2, 20 19, the Best Buy staff was on alert regarding DIXON after detectives

   had responded to the case above. One of the tel lers recognized DIXON as she tried to use a debit

   or credit card. The teller asked for identification and she left the store. Video footage films

   DIXON leaving the store and entering a silver Chrysler 300 sedan, with a visible tag, that was

   being driven by a skinny black male, with long hair and a white shirt. Broward County Sheriffs

   Office records documented ROBINSON driving that Chrysler on February 1, 20 19. 10 The same




   10   T he vehicle appears to have two registe red owners with different Florida add resses, but neither is
   ROB INSON.


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Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 16 of 19




   PBSO detective familiar with ROBINSON' s appearance has viewed the video, confirmed its high

   quality, and identified both DIXON and ROBINSON, who was driving the Chrysler 300.

                                             YOUR AFFIANT SAYETH FURTHER NAUGHT.


                                           Sfil~
                                           Task Force Officer, United States Secret Service

   Sworn to before me in West Palm Beach, Florida on Feb( ' i 24, 2020.

                                                       (/4Lifl    /a-<- ~ - -
                                             HON.DAVE LEE BRANNON
                                             UNITED STATES MAGISTRATE JUDGE




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Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 17 of 19


                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                 PENALTY SHEET

   Defendant's Name:             Shaguille P. Robinson

   Case No: _     _._.f)o  - _/1___;J_#
                       '-=-_         : ___;'6(
                                            :;__:0: . . .'.8:
                                                          . ,«.. . .e6:. . .;.c~~~=J)' - - - - - - - -
   Count 1:
                      Access Device Fraud

                      Title 18, United States Code, Section 1029(a)(2)

   * Max. Penalty:                   10 years' imprisonment, followed by up to 3 years' supervised
                                     release, a maximum $250,000 fine, and a $ 100 special assessment


   Count 2 - 4:
                      Bank Fraud

                            Title 18, United States Code Section 1344

   * Max. Penalty:          30 years' imprisonment, followed by up to 5 years' supervised release, a
                            maximum $ 1,000,000 fine, and a $100 special assessment


   Count 5-7:
                            Aggravated Identity Theft

                           Title 18, United States Code, Section 1028A

   * Max. Penalty:                   Mandatory 2-year consecutive sentenced, followed by 1 year
                                     supervised release, a maximum fine of $250,000, and a $1 00
                                     special assessment


   Count 4:




   * Max. Penalty:


   Refers only to possible term of incarceration, does not include possible fines, restitution,
   special assessments, parole terms, or forfeitures that may be applicable.
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 18 of 19


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name:          Dierdre Denise Dixon

  Case No: - - -- - - - - - - - - - -- - - - - - - - - - -

  Count 1:
                     Access Device Fraud

                     Title 18, United States Code, Section 1029(a)(2)

  * Max. Penalty:                 l 0 years' imprisonment, followed by up to 3 years' supervised
                                  release, a maximum $250,000 fine , and a $ 100 special assessment


   Count 2 - 3:
                     Bank Fraud

                         Title 18 United States Code Section 1344

   * Max. Penalty:       30 years' imprisonment, followed by up to 5 years ' supervised release, a
                         maximum $1,000,000 fine, and a $ 100 special assessment


   Count 4-5:
                         Aggravated Identity Theft

                         Title 18, United States Code, Section 1028A

   * Max. Penalty:                Mandatory 2-year consecutive sentenced, fo llowed by 1 year
                                  supervised release, a maximum fine of $250,000, and a $100
                                  special assessment


   Count 4:




   * Max. Penalty:


   Refers only to possible term of incarceration, does not include possible fines, restitution,
   special assessments, parole terms, or forfeitures that may be applicable.
Case 9:20-mj-08086-DLB Document 1 Entered on FLSD Docket 02/24/2020 Page 19 of 19




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                   Case No.   :J ()-- /'1J- g'O '156"'1)::.:3
  UNITED STATES OF AMERICA

  vs.

  SHAQUILLE P. ROBINSON
  and DIERDRE DENISE DIXON,

             Defendants.
  ______________./
                                 CRIMINAL COVER SHEET


   1.   Did this matter originate from a matter pending in the United States Attorney's Office prior
        to August 9, 2013 (Mag. Judge Alicia Valle)? _ _ Yes               X     No

   2.   Did this matter originate from a matter pending in the Northern Region of the United
        States Attorney's Office prior to August 8, 20 14 (Mag. Judge Shaniek Maynard)?
                Yes       X No


                                              Respectfully submitted,

                                              ARIANA FAJARDO ORSI-IAN
                                              UNITED STATES ATTORNEY


                                      BY:
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